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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                               CASE NO.: 1:06-CR-005-SPM

CAROLINE PARRA,

     Defendant.
_______________________________/

                      ORDER CONTINUING SENTENCING

       THIS CAUSE comes before the Court upon the “Defendant’s Unopposed

Motion to Continue Sentencing” (doc. 77) filed November 30, 2006. Defendant

requests a continuance of sentencing in order to testify, if needed, for the

sentencing of Jesus Gonzalez in an attempt to provide substantial assistance to

the Government. The Government is unopposed to the granting of the motion.

       Finding good cause for the postponement, it is

       ORDERED AND ADJUDGED as follows:

       1.     The motion to continue sentencing (doc. 77) is granted.

       2.     Sentencing is reset for Monday, March 5, 2007 at 1:30 pm at the

              United States Courthouse in Gainesville, Florida.

       DONE AND ORDERED this first day of December, 2006.


                                     s/ Stephan P. Mickle
                                   Stephan P. Mickle
                                   United States District Judge
